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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                             Case No. 2:19-cv-00239-PHX-GMS
10                        Plaintiff,               PROPOSED ORDER GRANTING
                                                   JOINT MOTION TO MODIFY CASE
11                                                 MANAGEMENT ORDER
     vs.
12
     Jeffrey Bardwell and Fanny F. Bardwell,
13   husband and wife,
14                        Defendants.
15
16         The Court has reviewed the Parties’ Stipulated Joint Motion To Extend Deadline

17   For Parties’ Responses To Respective Motions For Summary Judgment To February 15,

18   2021. For good cause shown,

19         IT IS HEREBY ORDERED that the Parties’ Stipulated Joint Motion To Extend

20   Deadline For Parties’ Responses To Respective Motions For Summary Judgment (the

21   Motion for Summary Judgment filed by Mr. Pratte is Docket No. 55, his Separate

22   Statement of Facts is Docket No. 56; the Motion for Summary Judgment filed by Mr.

23   Bardwell is Docket No. 57, his Separate Statement of Facts is Docket No. 58) To

24   February 15, 2021 is GRANTED.

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           DATED this ____ day of _________________, 2021.
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